 

IN THE UNITED sTATEs DISTRICT CoURQE" i”l~£'"i "5
FoR THE WESTERN DISTRICT oF TENNESSBE -

WESTERN DIVISION tij ”

 
 

 

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 04-20127 D
v.
JEROME REED,

Defendant.

 

ORDER DENYING MOTION TO REOPEN PROOF

 

Before the Court is the motion of the United States to Reopen the Proof in the above cause.

As grounds for the motion, the United States states:

On November 29, 2004, the defendant filed a Motion to Reopen and
Reconsider Order Denying Motion to Suppress Evidence. This motion was
granted.

On March ll, 2005, the defendant Was allowed to present the testimony of
Melvin Sugars. During this hearing, material information was presented to
the Court regarding the facts of the stop, i.e., the tinted windows of the car.
Prior to the hearing, the United States Was unaware of the nature of the
testimony sought to be introduced by the defendantl Therefore, the
government did not present any rebuttal proof.

Due to the length of time between the hearings, the Court allowed the parties
the opportunity to review the previous suppression hearing transcript, prior
to submitting written briefs on the issues. A review of the transcripts
revealed that the issue of the tinted windows was never addressed by the
government or the defendant in the first hearing.

After interviewing witnesses, the government has received information Which
would directly rebut the testimony ot` Mr. Sugars.

Tnis document entered on the docket sheet in compliance

Witn Rule 55 and,for 32(b) FHCrP on

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ln response to the United States’ Motion to Reopen the Proof`, Defendant filed an objection
in response thereto.

Upon review of the motion and responses, the Court finds that cause does not exist to grant
relief. The facts surrounding the stop were placed in issue in Defendant’s Motion to Suppress. At
the hearing, the United States presented proof through a Witness that the officer “observed the driver
of the Isuzu Rodeo not wearing a seatbelt from three to four car lengths away.” The United States
did not ask the witness any questions regarding the windows of the vehicle, a factor relating directly
to the witness powers of observation At the close of the proof, defense counsel stated on the record
their unsuccessful efforts to locate Mr. Sugars, the driver. The subsequent location of Sugars
constituted cause to reopen the proof since he was the driver of the vehicle, and was unavailable at
the initial hearing At the close of the proof, the United States indicated that it had no rebuttal proof.

Considering the applicable law governing reopenings, United States v. Carter, 374 F.3d 399
(6111 Cir. 2004), the Court finds that reopening the proof at this juncture would be highly prejudicial
to the Defendant. The United States had every opportunity to present proof of the automobile
windows at the initial hearing, but failed to do so. Further, the issue of window visibility, (tinting),
was a foreseeable issue based on Defendant’s motion. Finally, the United States has not proffered
proof to the Court to support its requested relief. See United States v. Alexander, 948 F.2d 1002, (6th
Cir. 1991).

Accordingly, the Motion to Reopen Proof is DENIED. The proof proffered by the United
States was apparently available during the initial hearing

The parties must submit any briefs on the Motion to Suppress on or before May 18, 2005.

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Thereafter, the Court will decide the motion.

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IT IS SO ORDERED this day of , 2005.

 

UN TED STATES DISTR_ICT JUDGE

   

UNiTED sATE DisTRiCT COURT - wE'T'RN DisRTCT oFTENNEssEE

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This notice confirms a copy of the document docketed as number 59 in
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Honorable Bernice Donald
US DISTRICT COURT

